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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
Vv. Case No. 8:18-cr-192-T-23CPT

HECTOR JOSE CARASQUILLO PEREZ
/

 

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

The Defendant, by consent, appeared before me pursuant to Fed. R. Crim. P. 11 and
Local Rule 6.01(c)(12), and pleaded guilty to Counts One and Seven of the Indictment.
After examining the Defendant as required by Rule 11, I have determined that the
Defendant’s guilty plea is knowing, voluntary, and supported by an independent factual
basis. I therefore recommend that the Defendant’s guilty plea be accepted, that the
Defendant be adjudged guilty, and that the Defendant’s sentence be imposed accordingly.

IT IS SO REPORTED AND RECOMMENDED at Tampa, Florida, on this 7th day

of August 2018.

Chretwker P. AAs

HONORABLE CHRISTOPHER P. TUITE
United States Magistrate Judge

NOTICE

A party has fourteen (14) days from this date to file written objections to the Report
and Recommendation’s factual findings and legal conclusions. A party’s failure to file
written objections waives that party’s right to challenge on appeal any unobjected-to factual
finding or legal conclusion the District Judge adopts from the Report and Recommendation.
See 11th Cir. R. 3-1.
